         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                      CRIMINAL NO. 1:06CR256-4


UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                    ORDER
                         )
                         )
JAMES MATTHEW GREEN      )
                         )


     THIS MATTER is before the Court on the Defendant’s appeal of the

Order of detention entered by the Magistrate Judge on February 8, 2007.

No response from the Government is required.

     On October 3, 2006, the Defendant was charged in a one count bill

of indictment with conspiracy to manufacture and possess with intent to

distribute more than 50 grams of methamphetamine. Bill of Indictment,

filed October 3, 2006. On January 4, 2007, the Defendant entered into a

plea agreement with the Government pursuant to which he agreed to plead

guilty to the count of the indictment. Plea Agreement, filed January 4,

2007. In the plea agreement, the Defendant agreed that the amount of

methamphetamine mixture that was known or reasonably foreseeable to




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him was at least 50 grams but less than 150 grams. Id. As a result, the

Defendant faces a mandatory minimum sentence of 5 years imprisonment

and a maximum sentence of 40 years imprisonment. 21 U.S.C. §

841(b)(1)(B)(viii). In the event that the Government files an information

prior to sentencing, the Defendant would face a mandatory minimum

sentence of 10 years and a maximum sentence of life imprisonment. Plea

Agreement, supra. On January 5, 2007, he entered his plea of guilty

during a Rule 11 Hearing conducted by the Magistrate Judge. Rule 11

Inquiry and Order of Acceptance of Plea, filed January 5, 2007.          On

January 23, 2007, Defendant through counsel moved for release on bond

pending sentencing, citing as changed circumstances the fact that he had

completed a jail based inpatient treatment program and had entered a

guilty plea. The Magistrate Judge denied that motion because the

Defendant could not meet the burden required by the statute. Order, filed

February 8, 2007. The Defendant now appeals that order.

     Release or detention of a defendant pending sentencing is controlled

by 18 U.S.C. § 3143(a) which provides in pertinent part:

     [T]he judicial officer shall order that a person who has been
     found guilty of an offense and who is awaiting imposition or
     execution of sentence . . . be detained, unless the judicial
     officer finds by clear and convincing evidence that the person is


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      not likely to flee or pose a danger to the safety of any other
      person or the community if released[.]
                                          ...
      The judicial officer shall order that a person who has been
      found guilty of an offense described in subparagraph . . . (C) . .
      . of subsection (f)(1) of section 3142 and is awaiting imposition
      or execution of sentence be detained unless-
             (A)(i) the judicial officer finds there is a substantial
      likelihood that a motion for acquittal or new trial will be granted;
      or
             (ii) an attorney for the Government has recommended
      that no sentence of imprisonment be imposed on the person;
      and
             (B) the judicial officer finds by clear and convincing
      evidence that the person is not likely to flee or pose a danger to
      any other person or the community.

18 U.S.C. § 3143(a)(1), (2). Section 3142(f)(1)(C) refers to a drug crime

for which the maximum term of imprisonment is 10 years or more.

      The Court finds that the Defendant has admitted the elements of the

crime of conspiracy to manufacture and possess with intent to distribute

methamphetamine during his Rule 11 hearing. The maximum sentence

which he faces, unless the Government files an information as to previous

drug felonies, is 40 years. The plea agreement does not contain any

provision stating that the Government will not file an information prior to

sentencing. Indeed, the plea agreement provides that if the Government

does make such a filing, the Defendant may face either a mandatory

minimum sentence of 10 years or a maximum sentence of life


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imprisonment. As a result, he cannot meet any of the requirements of the

statutes which would otherwise allow him release pending sentencing.

     IT IS, THEREFORE, ORDERED that the Defendant’s appeal is

DENIED, and the Magistrate Judge’s Order of detention is hereby

AFFIRMED.

                                    Signed: February 13, 2007




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